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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NORTH DAKOTA
                               EASTERN DIVISION


LuAnne Janssen, as Personal Representative of         Case No. 3:19-cv-00079
the Estate of Warren S. Lindvold,

                             Plaintiff,

       v.

City of Valley City,
Christopher Olson,                                   NOTICE OF APPEARANCE
Wade Hannig,
Barnes County,
Barnes County Sheriff Randy McClaflin,
Jenna Jochim,
Richard Chase,
Bruce Potts,
Jesse Burchill,
Barnes County Ambulance, Inc.,
National Medical Resources, Inc.,
Mercy Hospital of Valley City d/b/a
CHI Mercy Health,

                             Defendants.


       TO:   THE PLAINTIFF AND HER ATTORNEYS


       PLEASE TAKE NOTICE that the undersigned attorneys hereby appear in the above-

entitled action for Defendant Mercy Hospital of Valley City d/b/a CHI Mercy Health.

       An appropriate motion, answer, or other response will be served by the defendant, and

the defendant reserves all defenses available, including those which may be asserted pursuant

to Rule 12 of the Federal Rules of Civil Procedure, if such defenses are applicable.

       The undersigned attorneys request that copies of all papers subsequent to the summons

and complaint be served upon us at the undersigned address.
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       Dated this 28th day of May, 2019.

                                                   MEAGHER & GEER, P.L.L.P.
                                                   Attorneys for Defendant, Mercy Hospital d/b/a
                                                   CHI Mercy Health
                                                   1900 Burnt Boat Drive, Suite 101
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                                                   Ph: 701.222.1315



                                                   BY:     /s/ Tracy Vigness Kolb
                                                            Tracy Vigness Kolb, ND ID# 05338
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                                          Certificate of Service

       I hereby certify that the foregoing was filed with the Clerk of Court through ECF and that

ECF will send a Notice of Electronic Filing (NEF) to the following:

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Dated this 28th day of May, 2019.


                                        /s/ Tracy Vigness Kolb
                                        Tracy Vigness Kolb, ND ID# 05338




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